                  Case 23-11069-CTG              Doc 851        Filed 10/16/23        Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )   Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. 617

                   DECLARATION OF DISINTERESTEDNESS OF
          CARR ALLISON OLIVER & SISSON, PC. PURSUANT TO THE ORDER
            AUTHORIZING THE DEBTORS TO RETAIN AND COMPENSATE
         PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

I, Thomas C. Logan, declare under penalty of perjury:

             1.    I am the Managing Shareholder of Carr Allison Oliver & Sission, P.C., located at

100 Vestavia Parkway, Birmingham, Alabama 35216 (the “Firm”).

             2.    Yellow Corporation and certain of its affiliates, as debtors and debtors in possession

(collectively, the “Debtors”), have requested that the Firm provide legal services to the Debtors,

and the Firm has consented to provide such services.

             3.    The Firm may have performed services in the past, may currently perform services,

and may perform services in the future in matters unrelated to these chapter 11 cases for persons

that are parties in interest in the Debtors’ chapter 11 cases. The Firm does not, however, perform

services for any such person relating to these chapter 11 cases, or have any relationship with any

such person, their attorneys, or their accountants that would be adverse to the Debtors or

their estates.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
Case 23-11069-CTG   Doc 851   Filed 10/16/23   Page 2 of 3
Case 23-11069-CTG   Doc 851   Filed 10/16/23   Page 3 of 3
